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                          IN THE UN ITED STATES DISTRJCT COU RT

                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

  ASSOCIATION OF AMERICAN
  RA ILROADS,
        Plaintiff,

         V.                                                             Civil No. I :23cv8 I 5 (DJN)

  JEHMAL T. HUDSON, et al.,
       Defendants.

                                             ORDER
                 (Directing the Parties to Proceed with March 21, 2024 Hearing)

         This matter comes before the Court on Plaintiff the Association for American Railroads'

  ("Plaintiff') Motion to Amend/Correct the Amended Complaint, ("Motion to Amend," ECF No.

  76), in which Plaintiff requests leave to add the newly appointed State Corporation

  Commissioners as Defendants once they assume office. Upon review, the Court advises the

  Parties that it wi ll take the Motion to Amend under consideration, but that the Court will proceed

  with the existing March 2 1, 2024 date for argument in Richmond on the pending Motions to

  Dismiss, (ECF Nos. 47, 49).

         Let the Clerk file a copy of this Order electronically and notify all counsel of record.

         ft is so ORDERED.

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                                                       Dav id J. Novak
                                                       United States District Judge
  R.ichmond, Virginia
  Dated: March 13, 2024
